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CERTFICATE OF SERVICE BY MAILING

1 doseah Mizzay __, hereby certify, pursuant to NRCP 5(), that on this 27

day of —— 20-16, T mailed a tue and comes cony of

   
  

of the foregoing, “

by depositing it in the High Desert State Prison, Legal Library, First-Class Postage, fully prepaid,
addressed as follows:

 

CC:FILE

DATED: this 27 day of _VIVth

 

 

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